Case 2:04-cr-20229-SH|\/| Document 99 Filed 05/13/05 Page 1 of 2 Page|D 138

FLZ.EL“) sr a

IN TI~J:E: UNITED sTATEs DISTRICT coURT z

FoR THE wEsTERN DISTRICT oF TENNESSEE 951:.§;__.1'; 13 PH L}: 21
wESTERN DIvIsIoN

 

 

U'NITED STATES OF AMERICA,
Plaintiff,
CR. NO. 04-20229-02-Ma

VS.

SALAMEH IBRAHIM ,

~_/\_/-_/-_/~_/~_/~_/~__/-__/

Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard On May 12, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Salameh Ibrahimq appearing in person and. with
retained counsel, Mr. Mark Mesler.

With leave of the Court, the defendant entered a plea of
guilty to Count l of the Indictment. Plea colloquy Was held and
the Court accepted the guilty plea.

Sentencing in this matter is set for Monday, August 29, 2005
at 1:30 p.m.

The defendant may remain on his present bond pending
sentencing.

ENTERED this the ‘:"X‘\ day cf May, 2005.

JW~\.__

SAMUEL H. MAYS, JR.
UNITED STATES DIS'I'RICT JUDGE

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UNITED TEATS DISTRIC COURT - \)VESRNTE D"RITICT 0 TENNESSEE

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Honorable Samuel Mays
US DISTRICT COURT

